            Case 3:20-cr-00249-RS               Document 432        Filed 01/06/25      Page 1 of 4




 1 MICHAEL J. SHEPARD (SBN 91281)
    mshepard@kslaw.com
 2 KING & SPALDING LLP
   50 California Street, Suite 3300
 3 San Francisco, California 94111

 4 Telephone:     +1 415 318 1221

 5 KERRIE C. DENT (admitted pro hac vice)
    kdent@kslaw.com
 6 KING & SPALDING LLP
   1700 Pennsylvania Avenue, NW, Suite 900
 7
   Washington, DC 20006-4707
 8 Telephone: +1 202 626 2394

 9 CINDY A. DIAMOND (SBN 124995)
    cindy@cadiamond.com
10 ATTORNEY AT LAW

11 58 West Portal Ave #350
   San Francisco, CA 94127
12 Telephone: +1 408 981 6307

13 Attorneys for Defendant
   ROWLAND MARCUS ANDRADE
14

15

16                                  UNITED STATES DISTRICT COURT

17                                NORTHERN DISTRICT OF CALIFORNIA

18                                       SAN FRANCISCO DIVISION

19 UNITED STATES OF AMERICA,                                Case No. 3:20-cr-00249-RS
20
                     Plaintiff,                             DECLARATION IN RESPONSE TO THE
21                                                          COURT’S EMAIL OF JANUARY 2, 2018,
            v.                                              REGARDING DEFENDANT ANDRADE’S
22                                                          SUBMISSION OF AN EX PARTE
     ROWLAND MARCUS ANDRADE,
                                                            DECLARATION
23
                     Defendant.
24                                                          Judge: Hon. Richard Seeborg, Chief Judge

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28   Declaration in Response to the Court’s Email of January 2,               Case Number: 3:20-cr-00249-RS
     2018, regarding Defendant Andrade’s Submission of an Ex
     Parte Declaration
                Case 3:20-cr-00249-RS               Document 432           Filed 01/06/25         Page 2 of 4




 1              Michael J. Shepard, counsel for defendant Rowland Marcus Andrade, states as follows:
 2 This declaration is respectfully submitted in response to the Court’s request by email on January

 3 2, 2025, that Mr. Andrade explain how the government can be expected to respond to Defendant

 4 Marcus Andrade’s Motion in Limine to Exclude Allegations and Evidence of Uncharged Bad

 5 Acts without disclosure of Mr. Stefan’s declaration.
                                                            1
 6              As the party with the burden of proof, the government can respond to Mr. Andrade’s
 7 brief as it would have responded had Mr. Andrade submitted the same Motion in Limine, with

 8 the same assertion that the defense would contest the government’s claim that AML Bitcoin was

 9 similar to Biogreen and AtenCoin, but without Mr. Stefan’s declaration. The purpose of Mr.

10 Stefan’s Declaration was to provide the Court with the assurance that there is evidence behind

11 Mr. Andrade’s statement of his intention to contest the claims. The declaration has no impact on

12 the government’s ability to contest Mr. Andrade’s first argument in his Motion in Limine that

13 neither Biogreen nor AtenCoin is inextricably intertwined with AML Bitcoin, or his second

14 argument that its 404(b) evidence is just propensity evidence; all the facts in support of each of

15 these arguments are contained within those respective sections of the Motion.

16              For Mr. Andrade’s third and fourth arguments, which do depend in part upon the fact
17 section of the brief, there is no reason the government cannot respond to most of Mr. Andrade’s

18 factual assertions, which appear at 6:25-9:16, and 10:10-12:3 in Part II of the Motion itself. As
19 to the four government assertions about the similarity between Biogreen and AML Bitcoin at

20 page 10, and the four government assertions about the similarity between AtenCoin and AML

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     1
         The proponent of any evidence bears the burden of its admissibility. See United States v. Chang, 207 F.3d 1169,
22 1176-77 (9th Cir. 2000) (stating that the proponent of evidence has the burden of proving the foundational
     requirements for its admission by a preponderance of the evidence); United States v. Orozco-Viveros, No. 95-
23 50045, 1996 U.S. App. LEXIS 35766, at *5 (9th Cir. Feb 12, 1996) (“the federal rules as they now stand . . . place
     the burden of demonstrating admissibility on the proponent of the evidence at trial.”); Berry v. Gates, No. 90-55887,
24 1992 U.S. App. LEXIS 4012, at, *2 (9th Cir. Feb 28, 1992) (“An offering party has the burden of showing the
     relevance and probative value of the proffered evidence in order to permit the weight process required under Rule
25 403.”); see also Stephen A. Saltzburg et al., Federal Rules of Evidence Manual § 104.02[9] (13th ed. 2024) (“the
     moving party has the burden of proving admissibility requirements . . . by a preponderance of the evidence.”). This
26 is true for Rule 404(b) evidence as well: “The [proponent] has the burden of proving that the evidence meets all of
     the [Rule 404(b) and Rule 403] requirements.” United States v. Arambula-Ruiz, 987 F.2d 599, 602-603 (9th Cir.
27 1993).

28                                                              2
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         Parte Declaration
                Case 3:20-cr-00249-RS               Document 432        Filed 01/06/25         Page 3 of 4




 1 Bitcoin at page 12, Mr. Andrade went as far in his brief as laying out with specificity what he

 2 expects to contest at trial. With all the contested similarities identified, the government can

 3 explain how it will prove the challenged similarities (and how it will do so without bogging

 4 down the trial – for example, does it have admissions or judgments to prove the assertions Mr.

 5 Andrade says he will be contesting, or will it be offering witnesses and documents?). In so

 6 doing, it can write the same brief it would have written had Mr. Andrade merely identified the

 7 similarities he plans to contest and not included Mr. Stefan’s Declaration. The Court can then use

 8 the briefs and supporting declarations of the parties as it sees fit, with the recognition that it need

 9 not use the submissions of the parties to resolve the factual disputes as if it were the finder of fact
                                                                                                                      2
10 on the contested issues, but rather only to determine whether the government has met its burden.

11 In making that judgement, if it so chooses, the Court can look at the government’s proposed

12 proof of similarity and compare it to the way the defense plans to contest the claims of similarity.

13 It undertook a similar process when it reviewed ex parte statements from both parties in deciding

14 the government’s Motion for an Order Pursuant to Section Four of CIPA.

15              To take the liberty of going one step further to respond to the Court’s inquiry, especially
16 given that the government bears the burden of proof and persuasion and has no barriers to

17 contesting the vast bulk of the arguments in the brief, Mr. Andrade should not be required to

18 reveal his defense to the charges in the indictment in order contest the government’s effort to
                                                                                                         3
19 materially expand the trial with what he has demonstrated to be propensity evidence. The

20 material that is in Mr. Stefan’s Declaration but not also in the brief is material that shows AML

21 Bitcoin is different from Biogreen and AtenCoin because it does not share the allegedly

22 fraudulent characteristics that the government claims was present in those two other ventures. It

23
     2
24   “‘Although district courts have broad discretion in ruling on motions in limine, courts must be careful not to use
   them to resolve factual disputes or to weigh evidence.’” Grace v. Apple, Inc., No. 17-CV-00551-LHK, 2020 U.S.
25 Dist. LEXIS 7883, at *12-13 (N.D. Cal. Jan. 15, 2020) (quoting Mims v. Fed. Express Corp., No. CV 13-03947-AB
   (SSx), 2015 U.S. Dist. LEXIS 192586, at *2 (C.D. Cal. Jan. 15, 2015)).
   3
26 Revelations to the government present within Mr. Stefan’s Declaration would include powerful lines of cross-
   examination for anticipated government witnesses and documentary evidence central to Mr. Andrade’s defense to
27 the charged offenses.

28                                                              3
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            Case 3:20-cr-00249-RS               Document 432        Filed 01/06/25    Page 4 of 4




 1 therefore goes to the essence of what Mr. Andrade would present in defense to the fraud charges

 2 for which he will be on trial.

 3          Requiring Mr. Andrade to lay out the specifics of his defense and his cross examinations
 4 in order to resist the government’s effort to introduce Rule 404(b) would go well beyond

 5 requiring merely “tip[ping] its hand as to its defense,” which the court did not require the

 6 defendant to do in United States v. Wells, No. 3:13-cr-008-RRB-JDR, 2014 U.S. Dist. LEXIS

 7 200819, at *5 (D. Alaska March 14, 2014) (denying request for early production of defense

 8 Jenks material), and beyond requiring the disclosure of some of the defense trial strategy, which

 9 the court did not require the defendant to do in United States v. Solano, 3:21-cr-00263-VC

10 (N.D.Cal. 2021), ECF #27, Minute Entry (Nov. 17. 2021) (granting defendant’s request for an ex

11 parte hearing on motion to compel discovery). Exercising a defendant’s right to resist the

12 introduction of Rule 404(b) evidence should not exact such a high price.

13          I declare under penalty of perjury under the laws of the United States that the foregoing is
14 true and correct.

15          Executed on January 6, 2025 in San Francisco, CA.
16

17                                                          /s/ Michael J. Shepard
                                                            Michael J. Shepard
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